               Case 2:16-bk-54055                  Doc 1        Filed 06/21/16 Entered 06/21/16 12:31:22                                Desc Main
                                                                Document     Page 1 of 83
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Cherie
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        R.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Joiner
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Cherie R. Hayes-Joiner
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7555
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
              Case 2:16-bk-54055                Doc 1        Filed 06/21/16 Entered 06/21/16 12:31:22                              Desc Main
                                                             Document     Page 2 of 83
Debtor 1   Cherie R. Joiner                                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 3183 Genevieve Drive
                                 Columbus, OH 43219
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Franklin
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
              Case 2:16-bk-54055                 Doc 1          Filed 06/21/16 Entered 06/21/16 12:31:22                              Desc Main
                                                                Document     Page 3 of 83
Debtor 1    Cherie R. Joiner                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 2:16-bk-54055                 Doc 1         Filed 06/21/16 Entered 06/21/16 12:31:22                             Desc Main
                                                               Document     Page 4 of 83
Debtor 1    Cherie R. Joiner                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
              Case 2:16-bk-54055                   Doc 1        Filed 06/21/16 Entered 06/21/16 12:31:22                            Desc Main
                                                                Document     Page 5 of 83
Debtor 1    Cherie R. Joiner                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 2:16-bk-54055                Doc 1        Filed 06/21/16 Entered 06/21/16 12:31:22                                    Desc Main
                                                             Document     Page 6 of 83
Debtor 1    Cherie R. Joiner                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Cherie R. Joiner
                                 Cherie R. Joiner                                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     June 21, 2016                                     Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
              Case 2:16-bk-54055                  Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                           Desc Main
                                                                  Document     Page 7 of 83
Debtor 1   Cherie R. Joiner                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Christopher J. Spiroff                                         Date         June 21, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Christopher J. Spiroff
                                Printed name

                                Spiroff Law Office
                                Firm name

                                1180 South High Street
                                Columbus, OH 43206
                                Number, Street, City, State & ZIP Code

                                Contact phone     614.224.2104                               Email address

                                0042247
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Case 2:16-bk-54055      Doc 1    Filed 06/21/16 Entered 06/21/16 12:31:22              Desc Main
                                 Document     Page 8 of 83




                                               Certificate Number: 03088-OHS-CC-027435325


                                                              03088-OHS-CC-027435325




                    CERTIFICATE OF COUNSELING

I CERTIFY that on May 12, 2016, at 4:30 o'clock PM CDT, Cherie R Joiner
received from Debt Education and Certification Foundation, an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the Southern District
of Ohio, an individual [or group] briefing that complied with the provisions of 11
U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet and telephone.




Date:   May 12, 2016                           By:      /s/Morgan L Quintana


                                               Name: Morgan L Quintana


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
               Case 2:16-bk-54055                          Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                              Desc Main
                                                                           Document     Page 9 of 83
 Fill in this information to identify your case:

 Debtor 1                   Cherie R. Joiner
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             351,200.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              91,013.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             442,213.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             476,266.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              90,647.00


                                                                                                                                     Your total liabilities $               566,913.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,650.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,400.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                         Desc Main
                                                                     Document      Page 10 of 83
 Debtor 1      Cherie R. Joiner                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $            7,367.35


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            59,294.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             59,294.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
               Case 2:16-bk-54055                               Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                    Desc Main
                                                                               Document      Page 11 of 83
 Fill in this information to identify your case and this filing:

 Debtor 1                    Cherie R. Joiner
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF OHIO

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        3183 Genevieve Drive                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Columbus                          OH        43219-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $263,100.00                $263,100.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
        Franklin                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Residence
                                                                                Insurance: Liberty Mutual




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
               Case 2:16-bk-54055                               Doc 1        Filed 06/21/16 Entered 06/21/16 12:31:22                                           Desc Main
                                                                            Document      Page 12 of 83
 Debtor 1         Cherie R. Joiner                                                                                              Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        3701 Walnut Creek Drive                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the        Current value of the
        Columbus                          OH        43224-0000                        Land                                            entire property?            portion you own?
        City                              State              ZIP Code                 Investment property                                      $88,100.00                  $88,100.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other     Rental Property                       (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee Simple
        Franklin                                                                      Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Rental
                                                                             Insurance: USAA


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $351,200.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Toyota                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Sequoia                                            Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2002                                               Debtor 2 only                                               Current value of the       Current value of the
          Approximate mileage:                          107K               Debtor 1 and Debtor 2 only                                  entire property?           portion you own?
          Other information:                                               At least one of the debtors and another
         Insurance: USAA (F&C)
                                                                           Check if this is community property                                   $5,600.00                   $5,600.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                            $5,600.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                              Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

Official Form 106A/B                                                             Schedule A/B: Property                                                                             page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                    Desc Main
                                                                     Document      Page 13 of 83
 Debtor 1       Cherie R. Joiner                                                                    Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Misc. HHG & Furnishings                                                                                      $7,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Ipad (5 yo)                                                                                                      $50.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Misc. Wearing Apparel                                                                                        $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Misc. Costume Jewelry/Watch/Necklace                                                                           $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $8,750.00



Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
             Case 2:16-bk-54055                                    Doc 1             Filed 06/21/16 Entered 06/21/16 12:31:22                                Desc Main
                                                                                    Document      Page 14 of 83
 Debtor 1          Cherie R. Joiner                                                                                                 Case number (if known)

 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Chase X4596                                                               $115.00



                                              17.2.                                               AEP Utility Deposit                                                       $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                              Pension                                             USPS Retirement Unvested)                                                     $1.00


                                              Thrift Saving                                       USPS TSP Savings Plan                                                 $68,286.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
Official Form 106A/B                                                                       Schedule A/B: Property                                                               page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                       Desc Main
                                                                     Document      Page 15 of 83
 Debtor 1        Cherie R. Joiner                                                                        Case number (if known)

    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
        Yes. Give specific information......


                                                         Child Support Arrears (Being liquidated
                                                             thru court order)                                 Child Support                      $7,279.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                          Surrender or refund
                                                                                                                                      value:

                                         Life Insurance Policy (Term through
                                         Employer)                                              Minor Children                                          $0.00


                                         Universal Life (Whole Life)                            Minor Children                                      $682.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


Official Form 106A/B                                                   Schedule A/B: Property                                                           page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
              Case 2:16-bk-54055                              Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                               Desc Main
                                                                             Document      Page 16 of 83
 Debtor 1         Cherie R. Joiner                                                                                                      Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $76,663.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $351,200.00
 56. Part 2: Total vehicles, line 5                                                                            $5,600.00
 57. Part 3: Total personal and household items, line 15                                                       $8,750.00
 58. Part 4: Total financial assets, line 36                                                                  $76,663.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $91,013.00              Copy personal property total           $91,013.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $442,213.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
                                        Case 2:16-bk-54055                            Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                       Desc
                                                                                                                                                                                     Main       Main
                                                                                                                                                                                          File No. PB1151 Page #1
                                                                                                     Document      Page 17 of 83                                                            Client Atty C Spiroff
                                                                                                                                                                                            PB1151



                                                                                               REAL ESTATE VALUE ESTIMATE

                             Contact        CHERIE JOINER                                                                                    Census Tract 0101.00              Map Reference N134BBAA 02800
                             Property Address 3183 Genevieve Dr                                                                              Check one:     SF           PUD           CONDO     2-4 Units
                             City                                                                                County FRANKLIN             State OH                     Zip Code 43219
SUBJECT




                                        Columbus
                             Phone No. Res. N/A                                 Loan Amount $       N/A                  Term     N/A          Mos. Owner's Est. of Value $ N/A
                                    No. of Rooms             No. of Bedrooms             No. of Baths                                                    Garage/Carport
                                                                                                               Family room or den Gross Living Area (specify                   Porches, Patio or   Central Air
                                                                                                                                                                type & no.)      Pool (specify)
                                             9                        5                       3.2                 Yes       No      3,485 Sq. Ft. 3 CAR ATTCH PORCH                                 Yes        No



                             NEIGHBORHOOD

                             Location                        Urban                 Suburban             Rural                                                                               Good Avg Fair Poor
                             Built Up                        Over 75%              25% to 75%           Under 25%                Property Compatibility
                             Growth Rate       Fully Dev.    Rapid                 Steady               Slow                     General Appearance of Properties
                             Property Values                 Increasing            Stable               Declining                Appeal to Market
                             Demand/Supply                   Shortage              In Balance           Oversupply
                             Marketing Time                  Under 3 Mos.          4-6 Mos.             Over 6 Mos.
                             Present Land Use 80% 1 Family         % 2-4 Family 10 % Apts.       % Condo 10% Commercial             % Industrial        % Vacant                        %
                             Change in Present Land Use      Not Likely            Likely             Taking Place From                               To
                             Predominant Occupancy           Owner                 Tenant            0 % Vacant
                             S/F Price Range $ 150,000 to $ 275,000                $       200,000           = Predominant Value
                             S/Family Age        0 yrs. to 20 yrs. Predominant Age        10       yrs.
FIELD REPORT




                             Comments including those factors affecting marketability (e.g. public parks, schools, view, noise)
                                                                                                                EASTON WAY TO THE NORTH, MCCUTCHEON RD TO THE
                                  SOUTH, STELZER RD TO THE EAST, SUNBURY RD TO THE WEST. LOCATED IN MCCUTCHEON MEADOWS SUBDIVISION
                                  AMONG PROPERTIES WITH A VARIETY OF STYLES, VALUES AND APPEALS. AVERAGE ACCESS TO MAJOR ROADWAYS. I-670
                                  LESS THAN 10 MINUTES. COLUMBUS CITY SCHOOLS. LOCAL SHOPPING, CHURCHES, PARKS & RECREATION.
                             SUBJECT PROPERTY
                             Approx. Yr. Blt. 20 06 # Units 1           # Stories MULTI-LEVEL                      PROPERTY RATING               Good Avg Fair Poor
                             Type (det, duplex, semi/det. etc.) DETACHED                                           Condition of Exterior
                             Design (rambler, split, etc.) SPLIT                                                   Compatibility to Neighborhood
                             Exterior Wall Mat. STONE/STUCCO                          Roof Mat. COMPOSITE ASPHL    Appeal and Marketability
                             Is the property in a HUD-Identified Special Flood Haz. Area?        No    Yes
                             Special Energy-Effic. Items UNABLE TO VERIFY - APPRAISER UNABLE TO GAIN ENTRY. APPRAISER RESERVES THE RIGHT TO AMEND
                                  APPRAISAL IF INTERIOR INSPECTION IS WARRANTED.
                             Comments (favorable or unfavorable incl. deferred maintenance) AVERAGE EXTERIOR CONDITION. ROOF & GUTTERS APPEAR TO BE FUNCTIONAL.
                                  PURPOSE OF THIS APPRAISAL IS TO ESTIMATE MARKET VALUE. HIGHEST AND BEST USE SINGLE FAMILY RESIDENTIAL.
                                  EXTERIOR INSPECTION ONLY. INTERIOR BELIEVED TO BE CONSISTENT WITH EXTERIOR.

                                     ITEM                   SUBJECT                           COMPARABLE NO. 1                             COMPARABLE NO. 2                          COMPARABLE NO. 3

                                         3183 Genevieve Dr                             2863 Regaldo Dr                               2785 Regaldo Dr                           4065 Macaldus Dr
                             Address Columbus, OH 43219                                Columbus, OH 43219                            Columbus, OH 43219                        Columbus, OH 43219
                             Proximity to Sub. N/A                                     1.06 miles E                                  1.08 miles E                              1.21 miles SE
                             Sales Price        $                  N/A                              $        236,000                              $      232,000                            $      241,000
                             Date of Sale and         DESCRIPTION                         DESCRIPTION      +( – )$ Adjust.              DESCRIPTION     +( – )$ Adjust.          DESCRIPTION      +( – )$ Adjust.
                             Time Adjustment N/A                                     09/30/2015                                    06/18/2015                              05/22/2015
                             Location            McCutcheon Mdw                      McCutcheon Mdw                                McCutcheon Mdw                          McCutcheon Mdw
                             Site/View           RESIDENTIAL                         RESIDENTIAL                                   RESIDENTIAL                             RESIDENTIAL
                             Age                 10                                  4                                             7                                       4
MARKET COMPARABLE ANALYSIS




                             Condition           AVERAGE                             AVERAGE                                       AVERAGE                                 AVERAGE
                             Living Area Rm.     Total B-rms. Baths                  Total    B-rms. Baths     +4,000              Total B-rms. Baths      +4,000          Total B-rms. Baths        +4,000
                             Count and Total      9        5      3.2                 10         4    2.1      +3,000                8      4       2.1    +3,000            7       4       2.1     +3,000
                             Gross Living Area           3,485 Sq. Ft.                        2,646 Sq. Ft. +16,780                        2,608 Sq. Ft. +17,540                    2,609 Sq. Ft. +17,520
                             Air Conditioning    YES                                 YES                                           YES                                     YES
                             Garage/Carport      3 CAR ATTACH                        2 CAR ATTACH              +2,500              2 CAR ATTACH            +2,500          2 CAR ATTACH              +2,500
                             Porches, Patio,     PORCH                               STOOP                                         STOOP                                   STOOP
                             Pools, etc.
                             Special Energy-     INSL WINDOWS                        INSL WINDOWS                                  INSL WINDOWS                            INSL WINDOWS
                             Efficient Items
                             Other               BASEMENT      BASEMENT                 BASEMENT                  BASEMENT
                             Net Adjust (Total)                  +    – $        26,280   +     – $        27,040   +      –   $     27,020
                             Indicated Value Sub.                        $      262,280            $      259,040              $    268,020
                             General Comments FOR BANKRUPTCY COURT USE ONLY. DATA SOURCES REALIST AND PUBLIC RECORDS. SALES COMPARISON
                                  APPROACH USED IN THE FINAL ANALYSIS.



                                                                                                                   Estimated Value $     263,100         as of                    MAY 10, 2016
                                Completed By JAMES SMOOT                                                                                                            Title APPRAISER
                                Signature                                                                                                                           Date          May 12, 2016

                        [Y2K]




                                                                                                      www.jsandassociatesappraisal.com
                                                                                 Form RVE — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
        Case 2:16-bk-54055             Doc 1       Filed 06/21/16 Entered 06/21/16 12:31:22                               Desc
                                                                                                                          Main       Main
                                                                                                                               File No. PB1151 Page #2
                                                  Document      Page 18 of 83
                                                      Subject Photo Page
Borrower/Client    CHERIE JOINER
Property Address   3183 Genevieve Dr
City               Columbus                       County FRANKLIN                                        State OH       Zip Code 43219
Lender             ATTORNEY CHRISTOPHER J SPIROFF




                                                                                                                    Subject Front
                                                                                                   3183 Genevieve Dr
                                                                                                   Sales Price       N/A
                                                                                                   Gross Living Area 3,485
                                                                                                   Total Rooms       9
                                                                                                   Total Bedrooms    5
                                                                                                   Total Bathrooms   3.2
                                                                                                   Location          McCutcheon Mdw
                                                                                                   View              RESIDENTIAL
                                                                                                   Site
                                                                                                   Quality
                                                                                                   Age               10




                                                                                                                    Subject Rear




                                                                                                                    Subject Street




                                Form PICPIX.SR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
        Case 2:16-bk-54055             Doc 1       Filed 06/21/16 Entered 06/21/16 12:31:22                            Desc
                                                                                                                       Main       Main
                                                                                                                            File No. PB1151 Page #3
                                                  Document      Page 19 of 83
                                                   Comparable Photo Page
Borrower/Client    CHERIE JOINER
Property Address   3183 Genevieve Dr
City               Columbus                       County FRANKLIN                                        State OH    Zip Code 43219
Lender             ATTORNEY CHRISTOPHER J SPIROFF




                                                                                                                Comparable 1
                                                                                                   2863 Regaldo Dr
                                                                                                   Prox. to Subject  1.06 miles E
                                                                                                   Sale Price        236,000
                                                                                                   Gross Living Area 2,646
                                                                                                   Total Rooms       10
                                                                                                   Total Bedrooms    4
                                                                                                   Total Bathrooms   2.1
                                                                                                   Location          McCutcheon Mdw
                                                                                                   View              RESIDENTIAL
                                                                                                   Site
                                                                                                   Quality
                                                                                                   Age               4




                                                                                                                Comparable 2
                                                                                                   2785 Regaldo Dr
                                                                                                   Prox. to Subject  1.08 miles E
                                                                                                   Sale Price        232,000
                                                                                                   Gross Living Area 2,608
                                                                                                   Total Rooms       8
                                                                                                   Total Bedrooms    4
                                                                                                   Total Bathrooms   2.1
                                                                                                   Location          McCutcheon Mdw
                                                                                                   View              RESIDENTIAL
                                                                                                   Site
                                                                                                   Quality
                                                                                                   Age               7




                                                                                                                Comparable 3
                                                                                                   4065 Macaldus Dr
                                                                                                   Prox. to Subject  1.21 miles SE
                                                                                                   Sale Price        241,000
                                                                                                   Gross Living Area 2,609
                                                                                                   Total Rooms       7
                                                                                                   Total Bedrooms    4
                                                                                                   Total Bathrooms   2.1
                                                                                                   Location          McCutcheon Mdw
                                                                                                   View              RESIDENTIAL
                                                                                                   Site
                                                                                                   Quality
                                                                                                   Age               4




                                Form PICPIX.CR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
        Case 2:16-bk-54055            Doc 1        Filed 06/21/16 Entered 06/21/16 12:31:22                         Desc
                                                                                                                    Main       Main
                                                                                                                         File No. PB1151 Page #4
                                                  Document      Page 20 of 83
                                                         Location Map
Borrower/Client    CHERIE JOINER
Property Address   3183 Genevieve Dr
City               Columbus                       County FRANKLIN                                      State OH   Zip Code 43219
Lender             ATTORNEY CHRISTOPHER J SPIROFF




                                Form MAP.LOC — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
        Case 2:16-bk-54055                     Doc 1         Filed 06/21/16 Entered 06/21/16 12:31:22                                        Desc
                                                                                                                                             Main       Main
                                                                                                                                                  File No. PB1151 Page #5
                                                            Document      Page 21 of 83



DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open market under all conditions
requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affected by undue stimulus. Implicit in this
definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are
typically motivated; (2) both parties are well informed or well advised, and each acting in what he considers his own best interest; (3) a reasonable time is allowed
for exposure in the open market; (4) payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and (5) the price
represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions* granted by anyone associated with
the sale.

       * Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are necessary
         for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are readily identifiable
         since the seller pays these costs in virtually all sales transactions. Special or creative financing adjustments can be made to the
         comparable property by comparisons to financing terms offered by a third party institutional lender that is not already involved in the
         property or transaction. Any adjustment should not be calculated on a mechanical dollar for dollar cost of the financing or concession
         but the dollar amount of any adjustment should approximate the market's reaction to the financing or concessions based on the
         appraiser's judgement.



                STATEMENT OF LIMITING CONDITIONS AND APPRAISER'S CERTIFICATION

CONTINGENT AND LIMITING CONDITIONS:                                 The appraiser's certification that appears in the appraisal report is subject to the following
conditions:


1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title to it. The appraiser assumes that
the title is good and marketable and, therefore, will not render any opinions about the title. The property is appraised on the basis of it being under responsible
ownership.


2. The appraiser has provided a sketch in the appraisal report to show approximate dimensions of the improvements and the sketch is included only to assist
the reader of the report in visualizing the property and understanding the appraiser's determination of its size.


3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or other data sources) and has noted
in the appraisal report whether the subject site is located in an identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes
no guarantees, express or implied, regarding this determination.


4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question, unless specific arrangements to do
so have been made beforehand.


5. The appraiser has estimated the value of the land in the cost approach at its highest and best use and the improvements at their contributory value. These
separate valuations of the land and improvements must not be used in conjunction with any other appraisal and are invalid if they are so used.


6. The appraiser has noted in the appraisal report any adverse conditions (such as, needed repairs, depreciation, the presence of hazardous wastes, toxic
substances, etc.) observed during the inspection of the subject property or that he or she became aware of during the normal research involved in performing
the appraisal. Unless otherwise stated in the appraisal report, the appraiser has no knowledge of any hidden or unapparent conditions of the property or
adverse environmental conditions (including the presence of hazardous wastes, toxic substances, etc.) that would make the property more or less valuable, and
has assumed that there are no such conditions and makes no guarantees or warranties, express or implied, regarding the condition of the property. The
appraiser will not be responsible for any such conditions that do exist or for any engineering or testing that might be required to discover whether such
conditions exist. Because the appraiser is not an expert in the field of environmental hazards, the appraisal report must not be considered as an
environmental assessment of the property.


7. The appraiser obtained the information, estimates, and opinions that were expressed in the appraisal report from sources that he or she considers to be
reliable and believes them to be true and correct. The appraiser does not assume responsibility for the accuracy of such items that were furnished by other
parties.


8.   The appraiser will not disclose the contents of the appraisal report except as provided for in the Uniform Standards of Professional Appraisal Practice.


9. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory completion, repairs, or
alterations on the assumption that completion of the improvements will be performed in a workmanlike manner.


10. The appraiser must provide his or her prior written consent before the lender/client specified in the appraisal report can distribute the appraisal report
(including conclusions about the property value, the appraiser's identity and professional designations, and references to any professional appraisal
organizations or the firm with which the appraiser is associated) to anyone other than the borrower; the mortgagee or its successors and assigns; the mortgage
insurer; consultants; professional appraisal organizations; any state or federally approved financial institution; or any department, agency, or instrumentality
of the United States or any state or the District of Columbia; except that the lender/client may distribute the property description section of the report only to data
collection or reporting service(s) without having to obtain the appraiser's prior written consent. The appraiser's written consent and approval must also
be obtained before the appraisal can be conveyed by anyone to the public through advertising, public relations, news, sales, or other media.




Freddie Mac Form 439 6-93                                                    Page 1 of 2                                                 Fannie Mae Form 1004B 6-93

                                                               www.jsandassociatesappraisal.com
                                          Form ACR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
        Case 2:16-bk-54055                      Doc 1         Filed 06/21/16 Entered 06/21/16 12:31:22                                           Desc
                                                                                                                                                 Main       Main
                                                                                                                                                      File No. PB1151 Page #6
                                                             Document      Page 22 of 83



APPRAISER'S CERTIFICATION: The Appraiser certifies and agrees that:

1. I have researched the subject market area and have selected a minimum of three recent sales of properties most similar and proximate to the subject property
for consideration in the sales comparison analysis and have made a dollar adjustment when appropriate to reflect the market reaction to those items of significant
variation. If a significant item in a comparable property is superior to, or more favorable than, the subject property, I have made a negative adjustment to reduce
the adjusted sales price of the comparable and, if a significant item in a comparable property is inferior to, or less favorable than the subject property, I have made
a positive adjustment to increase the adjusted sales price of the comparable.

2. I have taken into consideration the factors that have an impact on value in my development of the estimate of market value in the appraisal report. I have not
knowingly withheld any significant information from the appraisal report and I believe, to the best of my knowledge, that all statements and information in the
appraisal report are true and correct.

3. I stated in the appraisal report only my own personal, unbiased, and professional analysis, opinions, and conclusions, which are subject only to the contingent
and limiting conditions specified in this form.

4. I have no present or prospective interest in the property that is the subject to this report, and I have no present or prospective personal interest or bias with
respect to the participants in the transaction. I did not base, either partially or completely, my analysis and/or the estimate of market value in the appraisal report
on the race, color, religion, sex, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the present
owners or occupants of the properties in the vicinity of the subject property.

5. I have no present or contemplated future interest in the subject property, and neither my current or future employment nor my compensation for performing this
appraisal is contingent on the appraised value of the property.

6. I was not required to report a predetermined value or direction in value that favors the cause of the client or any related party, the amount of the value estimate,
the attainment of a specific result, or the occurrence of a subsequent event in order to receive my compensation and/or employment for performing the appraisal. I
did not base the appraisal report on a requested minimum valuation, a specific valuation, or the need to approve a specific mortgage loan.

7. I performed this appraisal in conformity with the Uniform Standards of Professional Appraisal Practice that were adopted and promulgated by the Appraisal
Standards Board of The Appraisal Foundation and that were in place as of the effective date of this appraisal, with the exception of the departure provision of those
Standards, which does not apply. I acknowledge that an estimate of a reasonable time for exposure in the open market is a condition in the definition of market value
and the estimate I developed is consistent with the marketing time noted in the neighborhood section of this report, unless I have otherwise stated in the
reconciliation section.

8. I have personally inspected the interior and exterior areas of the subject property and the exterior of all properties listed as comparables in the appraisal report.
I further certify that I have noted any apparent or known adverse conditions in the subject improvements, on the subject site, or on any site within the immediate
vicinity of the subject property of which I am aware and have made adjustments for these adverse conditions in my analysis of the property value to the extent that
I had market evidence to support them. I have also commented about the effect of the adverse conditions on the marketability of the subject property.

9. I personally prepared all conclusions and opinions about the real estate that were set forth in the appraisal report. If I relied on significant professional
assistance from any individual or individuals in the performance of the appraisal or the preparation of the appraisal report, I have named such individual(s) and
disclosed the specific tasks performed by them in the reconciliation section of this appraisal report. I certify that any individual so named is qualified to perform
the tasks. I have not authorized anyone to make a change to any item in the report; therefore, if an unauthorized change is made to the appraisal report, I will take
no responsibility for it.




SUPERVISORY APPRAISER'S CERTIFICATION: If a supervisory appraiser signed the appraisal report, he or she certifies and agrees that:
I directly supervise the appraiser who prepared the appraisal report, have reviewed the appraisal report, agree with the statements and conclusions of the appraiser,
agree to be bound by the appraiser's certifications numbered 4 through 7 above, and am taking full responsibility for the appraisal and the appraisal report.

ADDRESS OF PROPERTY APPRAISED:                               3183 Genevieve Dr, Columbus, OH 43219

APPRAISER:                                                                                  SUPERVISORY APPRAISER (only if required):

Signature:                                                                                  Signature:
Name: JAMES SMOOT                                                                           Name:
Date Signed: May 12, 2016                                                                   Date Signed:
State Certification #:                                                                      State Certification #:
or State License #: 2002018172                                                              or State License #:
State: OHIO                                                                                 State:
Expiration Date of Certification or License: 10/16/2016                                     Expiration Date of Certification or License:

                                                                                                  Did              Did Not Inspect Property




Freddie Mac Form 439 6-93                                                     Page 2 of 2                                                     Fannie Mae Form 1004B 6-93

                                            Form ACR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
          Case 2:16-bk-54055                       Doc 1
                                                      Filed 06/21/16 Entered 06/21/16 12:31:22                                                        Desc
                                                                                                                                                      Main       Main
                                                                                                                                                           File No. PB1151 Page #7
                                                     Document      Page 23 of 83
                                            LIMITED APPRAISAL DEPARTURE DISCLOSURE
     This report is a Limited Appraisal made according to the binding and specific requirements of the Uniform Standards of Professional Appraisal Practice (USPAP) as
 promulgated by the Appraisal Standards Board of the Appraisal Foundation. The Departure Rule permits departures from some sections of the USPAP that are classified
 as guidelines. USPAP places the burden of proof on the appraiser to decide before accepting an assignment which calls for something less than, or different from, the
 work that would otherwise be required by USPAP guidelines, and to determine that the appraisal process is not so limited that the results of the assignment are no
 longer credible. The appraiser must advise the client that a limited appraisal assignment may not be as reliable as a complete appraisal, and that the report must
 clearly identify and explain the departures. The client must agree that the performance of a limited appraisal service would be appropriate, given the intended use.
    I am satisfied that the appraisal I performed is not so limited that the results of the assignment will tend to mislead or confuse the client or any other disclosed intended
    users of the report. I have indicated below those specific sections of the USPAP from which I have departed. I have prominently disclosed in the appraisal report that this
    is a limited appraisal and that I have not performed all of the items of the appraisal process for a complete appraisal, and that a limited appraisal may be less reliable
    than a complete appraisal.
    Standards Rule 1-3 (a) "identify and analyze the effect on use and value of existing land use regulations, reasonably probable modifications of such land use regulations,
                            economic supply and demand, the physical adaptability of the real estate, and market area trends;"
 Departure:
Explanation:

    Standards Rule 1-3 (b) "develop an opinion of the highest and best use of the real estate."
 Departure:
Explanation:

    Standards Rule 1-4 (a) "When a sales comparison approach is applicable, an appraiser must analyze such comparable sales data as are available to indicate a value
                            conclusion."
 Departure:
Explanation:

    Standards Rule 1-4 (b) "When a cost approach is applicable, an appraiser must: (i) develop an opinion of site value by an appropriate appraisal method or technique;
                            (ii) analyze such comparable cost data as are available to estimate the cost new of the improvements (if any); and (iii) analyze such comparable
                            data as are available to estimate the difference between the cost new and the present worth of the improvements (accrued depreciation)."
 Departure:    COST APPROACH NOT USED OR CONSIDERED
Explanation:   CHAPTER 13 BANKRUPTCY

    Standards Rule 1-4 (c) "When an income approach is applicable, an appraiser must: (i) analyze such comparable rental data as are available and/or the potential earnings
                            capacity of the property to estimate the gross income potential of the property; (ii) analyze such comparable operating expense data as are available
                            to estimate the operating expenses of the property; (iii) analyze such comparable data as are available to estimate rates of capitalization and/or
                            rates of discount; and (iv) base projections of future rent and/or income potential and expenses on reasonably clear and appropriate evidence."
 Departure:    INCOME APPROACH NOT USED OR CONSIDERED
Explanation:   CHAPTER 13 BANKRUPTCY

    Standards Rule 1-4 (d) "When developing an opinion of the value of a leased fee estate or a leasehold estate, an appraiser must analyze the effect on value, if any, of the
                            terms and conditions of the lease(s)."
 Departure:
Explanation:

    Standards Rule 1-4 (e) "An appraiser must analyze the effect on value, if any, of the assemblage of the various estates or component parts of a property and refrain from
                            valuing the whole solely by adding together the individual values of the various estates or component parts."
 Departure:
Explanation:

    Standards Rule 1-4 (f) "An appraiser must analyze the effect on value, if any, of anticipated public or private improvements, located on or off the site, to the extent that market
                            actions reflect such anticipated improvements as of the effective appraisal date."
 Departure:
Explanation:

    Standards Rule 1-4 (g) "An appraiser must analyze the effect on value of any personal property, trade fixtures, or intangible items that are not real property but are included
                            in the appraisal."
 Departure:
Explanation:

    Standards Rule 1-4 (h) "When appraising proposed improvements, an appraiser must examine and have available for future examination: (i) plans, specifications, or other
                            documentation sufficient to identify the scope and character of the proposed improvements; (ii) evidence indicating the probable time of completion
                            of the proposed improvements; and (iii) reasonably clear and appropriate evidence supporting development costs, anticipated earnings, occupancy
                            projections, and the anticipated competition at the time of completion."
 Departure:
Explanation:

  Additional Explanations:




                                                                   www.jsandassociatesappraisal.com
                                              Form 79L2 — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                                                                                                     Main File No. PB1152 Page #1
Case 2:16-bk-54055                                                           Doc 1               Filed 06/21/16 Entered 06/21/16 12:31:22            Desc Main
                                                                                                                                         Client Atty C Spiroff
                                                                                                Document      Page 24 of 83              PB1152



                                                                                                 REAL ESTATE VALUE ESTIMATE

                               Contact        CHERIE JOINER                                                                                    Census Tract 0075.33              Map Reference N144BB 08300
                               Property Address 3701 Walnut Creek Dr                                                                           Check one:     SF           PUD           CONDO     2-4 Units
  SUBJECT

                               City       Columbus                                                                 County FRANKLIN             State OH                     Zip Code 43224
                               Phone No. Res. N/A                                 Loan Amount $       N/A                  Term     N/A          Mos. Owner's Est. of Value $ N/A
                                      No. of Rooms             No. of Bedrooms             No. of Baths                                                    Garage/Carport
                                                                                                                 Family room or den Gross Living Area (specify                   Porches, Patio or   Central Air
                                                                                                                                                                  type & no.)      Pool (specify)
                                               7                        3                       1.5                 Yes       No      1,795 Sq. Ft. 2 CAR ATTCH PORCH                                 Yes        No



                               NEIGHBORHOOD

                               Location                         Urban                Suburban             Rural                                                                               Good Avg Fair Poor
                               Built Up                         Over 75%             25% to 75%           Under 25%                Property Compatibility
                               Growth Rate      Fully Dev.      Rapid                Steady               Slow                     General Appearance of Properties
                               Property Values                  Increasing           Stable               Declining                Appeal to Market
                               Demand/Supply                    Shortage             In Balance           Oversupply
                               Marketing Time                   Under 3 Mos.         4-6 Mos.             Over 6 Mos.
                               Present Land Use 80% 1 Family          % 2-4 Family 10 % Apts.       % Condo 10% Commercial            % Industrial        % Vacant                        %
                               Change in Present Land Use       Not Likely           Likely             Taking Place From                               To
                               Predominant Occupancy            Owner                Tenant            0 % Vacant
                               S/F Price Range $ 35,000     to $ 125,000             $        85,000           = Predominant Value
                               S/Family Age      20 yrs. to 60 yrs. Predominant Age         42       yrs.
  FIELD REPORT




                                                                                                                  MORSE RD TO THE NORTH, INNIS RD TO THE SOUTH,
                               Comments including those factors affecting marketability (e.g. public parks, schools, view, noise)
                                    SUNBURY RD TO THE EAST, WESTERVILLE RD TO THE WEST. LOCATED IN WALNUT CREEK SUBDIVISION AMONG
                                    PROPERTIES WITH A VARIETY OF STYLES, VALUES AND APPEALS. AVERAGE ACCESS TO MAJOR ROADWAYS. I-270 LESS
                                    THAN 10 MINUTES. COLUMBUS CITY SCHOOLS. LOCAL SHOPPING, CHURCHES, PARKS & RECREATION.
                               SUBJECT PROPERTY
                               Approx. Yr. Blt. 19 71 # Units 1           # Stories MULTI-LEVEL                     PROPERTY RATING               Good Avg Fair Poor
                               Type (det, duplex, semi/det. etc.) DETACHED                                          Condition of Exterior
                               Design (rambler, split, etc.) SPLIT                                                  Compatibility to Neighborhood
                               Exterior Wall Mat. BRICK/ALUMINUM                        Roof Mat. COMPOSITE ASPHL   Appeal and Marketability
                               Is the property in a HUD-Identified Special Flood Haz. Area?        No    Yes
                               Special Energy-Effic. Items UNABLE TO VERIFY - APPRAISER UNABLE TO GAIN ENTRY. APPRAISER RESERVES THE RIGHT TO AMEND
                                    APPRAISAL IF INTERIOR INSPECTION IS WARRANTED.
                               Comments (favorable or unfavorable incl. deferred maintenance) AVERAGE EXTERIOR CONDITION. ROOF & GUTTERS APPEAR TO BE FUNCTIONAL.
                                    PURPOSE OF THIS APPRAISAL IS TO ESTIMATE MARKET VALUE. HIGHEST AND BEST USE SINGLE FAMILY RESIDENTIAL.
                                    EXTERIOR INSPECTION ONLY. INTERIOR BELIEVED TO BE CONSISTENT WITH EXTERIOR.

                                       ITEM                   SUBJECT                           COMPARABLE NO. 1                             COMPARABLE NO. 2                          COMPARABLE NO. 3

                                           3701 Walnut Creek Dr                         3694 Beacontree Dr                3800 Red Oak Ln                     2809 Southridge Dr
                               Address Columbus, OH 43224                               Columbus, OH 43224                Columbus, OH 43224                  Columbus, OH 43224
                               Proximity to Sub. N/A                                    0.09 miles E                      0.17 miles NW                       0.33 miles S
                               Sales Price        $                  N/A                             $       94,000                    $      85,900                       $        83,200
                               Date of Sale and         DESCRIPTION                       DESCRIPTION    +( – )$ Adjust.     DESCRIPTION   +( – )$ Adjust.      DESCRIPTION      +( – )$ Adjust.
                               Time Adjustment N/A                                     08/12/2015                        10/22/2015                        08/26/2015
                               Location            WALNUT CREEK                        WALNUT CREEK                                  WALNUT CREEK                            WALNUT CREEK
                               Site/View           RESIDENTIAL                         RESIDENTIAL                                   RESIDENTIAL                             RESIDENTIAL
                               Age                 45                                  43                                            37                                      42
  MARKET COMPARABLE ANALYSIS




                               Condition           TYPICAL                             TYPICAL                                       TYPICAL                                 TYPICAL
                               Living Area Rm.     Total B-rms. Baths                  Total  B-rms. Baths                           Total B-rms. Baths                      Total B-rms. Baths               -1,500
                               Count and Total      7        3      1.5                  8       4   1.5                  -3,000      6      3     1.5                         7     4      2                 -3,000
                               Gross Living Area           1,795 Sq. Ft.                     1,795 Sq. Ft.                     0           1,430 Sq. Ft.           +5,475           1,816 Sq. Ft.               -315
                               Air Conditioning    YES                                 YES                                           YES                                     YES
                               Garage/Carport      2 CAR ATTACH                        2 CAR ATTACH                                  1CAR ATTACH                   +1,000    2 CAR ATTACH
                               Porches, Patio,     PORCH                               PORCH                                         LANDING                       +1,000    PORCH
                               Pools, etc.
                               Special Energy-     INSL WINDOWS  INSL WINDOWS             INSL WINDOWS              INSL WINDOWS
                               Efficient Items     FIREPLACE     FIREPLACE                N/A                +1,000 N/A                +1,000
                               Other               BASEMENT      BASEMENT                 BASEMENT                  BASEMENT
                               Net Adjust (Total)                  +     – $       -3,000   +     – $         8,475   +      –   $     -3,815
                               Indicated Value Sub.                        $       91,000            $       94,375              $     79,385
                               General Comments FOR BANKRUPTCY COURT USE ONLY. DATA SOURCES REALIST AND PUBLIC RECORDS. SALES COMPARISON
                                    APPROACH USED IN THE FINAL ANALYSIS.



                                                                                                                     Estimated Value $     88,100          as of                    MAY 10, 2016
                                  Completed By JAMES SMOOT                                                                                                            Title APPRAISER
                                  Signature                                                                                                                           Date          May 12, 2016

                           [Y2K]




                                                                                                        www.jsandassociatesappraisal.com
                                                                                   Form RVE — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                                                     Main File No. PB1152 Page #2
Case 2:16-bk-54055                 Doc 1         Filed 06/21/16 Entered 06/21/16 12:31:22            Desc Main
                                                Document
                                                      Subject  Page 25 of 83
                                                              Photo Page
    Borrower/Client    CHERIE JOINER
    Property Address   3701 Walnut Creek Dr
    City               Columbus                       County FRANKLIN                                        State OH       Zip Code 43224
    Lender             ATTORNEY CHRISTOPHER J SPIROFF




                                                                                                                        Subject Front
                                                                                                       3701 Walnut Creek Dr
                                                                                                       Sales Price       N/A
                                                                                                       Gross Living Area 1,795
                                                                                                       Total Rooms       7
                                                                                                       Total Bedrooms    3
                                                                                                       Total Bathrooms   1.5
                                                                                                       Location          WALNUT CREEK
                                                                                                       View              RESIDENTIAL
                                                                                                       Site
                                                                                                       Quality
                                                                                                       Age               45




                                                                                                                        Subject Rear




                                                                                                                        Subject Street




                                    Form PICPIX.SR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                                                      Main File No. PB1152 Page #3
Case 2:16-bk-54055                 Doc 1          Filed 06/21/16 Entered 06/21/16 12:31:22            Desc Main
                                                 Document
                                                     Comparable Page 26 of 83
                                                                Photo Page
    Borrower/Client    CHERIE JOINER
    Property Address   3701 Walnut Creek Dr
    City               Columbus                       County FRANKLIN                                        State OH    Zip Code 43224
    Lender             ATTORNEY CHRISTOPHER J SPIROFF




                                                                                                                    Comparable 1
                                                                                                       3694 Beacontree Dr
                                                                                                       Prox. to Subject  0.09 miles E
                                                                                                       Sale Price        94,000
                                                                                                       Gross Living Area 1,795
                                                                                                       Total Rooms       8
                                                                                                       Total Bedrooms    4
                                                                                                       Total Bathrooms   1.5
                                                                                                       Location          WALNUT CREEK
                                                                                                       View              RESIDENTIAL
                                                                                                       Site
                                                                                                       Quality
                                                                                                       Age               43




                                                                                                                    Comparable 2
                                                                                                       3800 Red Oak Ln
                                                                                                       Prox. to Subject  0.17 miles NW
                                                                                                       Sale Price        85,900
                                                                                                       Gross Living Area 1,430
                                                                                                       Total Rooms       6
                                                                                                       Total Bedrooms    3
                                                                                                       Total Bathrooms   1.5
                                                                                                       Location          WALNUT CREEK
                                                                                                       View              RESIDENTIAL
                                                                                                       Site
                                                                                                       Quality
                                                                                                       Age               37




                                                                                                                    Comparable 3
                                                                                                       2809 Southridge Dr
                                                                                                       Prox. to Subject  0.33 miles S
                                                                                                       Sale Price        83,200
                                                                                                       Gross Living Area 1,816
                                                                                                       Total Rooms       7
                                                                                                       Total Bedrooms    4
                                                                                                       Total Bathrooms   2
                                                                                                       Location          WALNUT CREEK
                                                                                                       View              RESIDENTIAL
                                                                                                       Site
                                                                                                       Quality
                                                                                                       Age               42




                                    Form PICPIX.CR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                                                     Main File No. PB1152 Page #4
Case 2:16-bk-54055                 Doc 1         Filed 06/21/16 Entered 06/21/16 12:31:22            Desc Main
                                                Document       Page 27 of 83
                                                        Location Map
    Borrower/Client    CHERIE JOINER
    Property Address   3701 Walnut Creek Dr
    City               Columbus                       County FRANKLIN                                      State OH   Zip Code 43224
    Lender             ATTORNEY CHRISTOPHER J SPIROFF




                                    Form MAP.LOC — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                                                               Main File No. PB1152 Page #5
Case 2:16-bk-54055                        Doc 1            Filed 06/21/16 Entered 06/21/16 12:31:22            Desc Main
                                                          Document      Page 28 of 83

    DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open market under all conditions
    requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affected by undue stimulus. Implicit in this
    definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are
    typically motivated; (2) both parties are well informed or well advised, and each acting in what he considers his own best interest; (3) a reasonable time is allowed
    for exposure in the open market; (4) payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and (5) the price
    represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions* granted by anyone associated with
    the sale.

           * Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are necessary
             for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are readily identifiable
             since the seller pays these costs in virtually all sales transactions. Special or creative financing adjustments can be made to the
             comparable property by comparisons to financing terms offered by a third party institutional lender that is not already involved in the
             property or transaction. Any adjustment should not be calculated on a mechanical dollar for dollar cost of the financing or concession
             but the dollar amount of any adjustment should approximate the market's reaction to the financing or concessions based on the
             appraiser's judgement.



                    STATEMENT OF LIMITING CONDITIONS AND APPRAISER'S CERTIFICATION

    CONTINGENT AND LIMITING CONDITIONS:                                 The appraiser's certification that appears in the appraisal report is subject to the following
    conditions:


    1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title to it. The appraiser assumes that
    the title is good and marketable and, therefore, will not render any opinions about the title. The property is appraised on the basis of it being under responsible
    ownership.


    2. The appraiser has provided a sketch in the appraisal report to show approximate dimensions of the improvements and the sketch is included only to assist
    the reader of the report in visualizing the property and understanding the appraiser's determination of its size.


    3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or other data sources) and has noted
    in the appraisal report whether the subject site is located in an identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes
    no guarantees, express or implied, regarding this determination.


    4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question, unless specific arrangements to do
    so have been made beforehand.


    5. The appraiser has estimated the value of the land in the cost approach at its highest and best use and the improvements at their contributory value. These
    separate valuations of the land and improvements must not be used in conjunction with any other appraisal and are invalid if they are so used.


    6. The appraiser has noted in the appraisal report any adverse conditions (such as, needed repairs, depreciation, the presence of hazardous wastes, toxic
    substances, etc.) observed during the inspection of the subject property or that he or she became aware of during the normal research involved in performing
    the appraisal. Unless otherwise stated in the appraisal report, the appraiser has no knowledge of any hidden or unapparent conditions of the property or
    adverse environmental conditions (including the presence of hazardous wastes, toxic substances, etc.) that would make the property more or less valuable, and
    has assumed that there are no such conditions and makes no guarantees or warranties, express or implied, regarding the condition of the property. The
    appraiser will not be responsible for any such conditions that do exist or for any engineering or testing that might be required to discover whether such
    conditions exist. Because the appraiser is not an expert in the field of environmental hazards, the appraisal report must not be considered as an
    environmental assessment of the property.


    7. The appraiser obtained the information, estimates, and opinions that were expressed in the appraisal report from sources that he or she considers to be
    reliable and believes them to be true and correct. The appraiser does not assume responsibility for the accuracy of such items that were furnished by other
    parties.


    8.   The appraiser will not disclose the contents of the appraisal report except as provided for in the Uniform Standards of Professional Appraisal Practice.


    9. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory completion, repairs, or
    alterations on the assumption that completion of the improvements will be performed in a workmanlike manner.


    10. The appraiser must provide his or her prior written consent before the lender/client specified in the appraisal report can distribute the appraisal report
    (including conclusions about the property value, the appraiser's identity and professional designations, and references to any professional appraisal
    organizations or the firm with which the appraiser is associated) to anyone other than the borrower; the mortgagee or its successors and assigns; the mortgage
    insurer; consultants; professional appraisal organizations; any state or federally approved financial institution; or any department, agency, or instrumentality
    of the United States or any state or the District of Columbia; except that the lender/client may distribute the property description section of the report only to data
    collection or reporting service(s) without having to obtain the appraiser's prior written consent. The appraiser's written consent and approval must also
    be obtained before the appraisal can be conveyed by anyone to the public through advertising, public relations, news, sales, or other media.




    Freddie Mac Form 439 6-93                                                    Page 1 of 2                                                 Fannie Mae Form 1004B 6-93

                                                                   www.jsandassociatesappraisal.com
                                              Form ACR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                                                               Main File No. PB1152 Page #6
Case 2:16-bk-54055                        Doc 1            Filed 06/21/16 Entered 06/21/16 12:31:22            Desc Main
                                                          Document      Page 29 of 83


    APPRAISER'S CERTIFICATION: The Appraiser certifies and agrees that:

    1. I have researched the subject market area and have selected a minimum of three recent sales of properties most similar and proximate to the subject property
    for consideration in the sales comparison analysis and have made a dollar adjustment when appropriate to reflect the market reaction to those items of significant
    variation. If a significant item in a comparable property is superior to, or more favorable than, the subject property, I have made a negative adjustment to reduce
    the adjusted sales price of the comparable and, if a significant item in a comparable property is inferior to, or less favorable than the subject property, I have made
    a positive adjustment to increase the adjusted sales price of the comparable.

    2. I have taken into consideration the factors that have an impact on value in my development of the estimate of market value in the appraisal report. I have not
    knowingly withheld any significant information from the appraisal report and I believe, to the best of my knowledge, that all statements and information in the
    appraisal report are true and correct.

    3. I stated in the appraisal report only my own personal, unbiased, and professional analysis, opinions, and conclusions, which are subject only to the contingent
    and limiting conditions specified in this form.

    4. I have no present or prospective interest in the property that is the subject to this report, and I have no present or prospective personal interest or bias with
    respect to the participants in the transaction. I did not base, either partially or completely, my analysis and/or the estimate of market value in the appraisal report
    on the race, color, religion, sex, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the present
    owners or occupants of the properties in the vicinity of the subject property.

    5. I have no present or contemplated future interest in the subject property, and neither my current or future employment nor my compensation for performing this
    appraisal is contingent on the appraised value of the property.

    6. I was not required to report a predetermined value or direction in value that favors the cause of the client or any related party, the amount of the value estimate,
    the attainment of a specific result, or the occurrence of a subsequent event in order to receive my compensation and/or employment for performing the appraisal. I
    did not base the appraisal report on a requested minimum valuation, a specific valuation, or the need to approve a specific mortgage loan.

    7. I performed this appraisal in conformity with the Uniform Standards of Professional Appraisal Practice that were adopted and promulgated by the Appraisal
    Standards Board of The Appraisal Foundation and that were in place as of the effective date of this appraisal, with the exception of the departure provision of those
    Standards, which does not apply. I acknowledge that an estimate of a reasonable time for exposure in the open market is a condition in the definition of market value
    and the estimate I developed is consistent with the marketing time noted in the neighborhood section of this report, unless I have otherwise stated in the
    reconciliation section.

    8. I have personally inspected the interior and exterior areas of the subject property and the exterior of all properties listed as comparables in the appraisal report.
    I further certify that I have noted any apparent or known adverse conditions in the subject improvements, on the subject site, or on any site within the immediate
    vicinity of the subject property of which I am aware and have made adjustments for these adverse conditions in my analysis of the property value to the extent that
    I had market evidence to support them. I have also commented about the effect of the adverse conditions on the marketability of the subject property.

    9. I personally prepared all conclusions and opinions about the real estate that were set forth in the appraisal report. If I relied on significant professional
    assistance from any individual or individuals in the performance of the appraisal or the preparation of the appraisal report, I have named such individual(s) and
    disclosed the specific tasks performed by them in the reconciliation section of this appraisal report. I certify that any individual so named is qualified to perform
    the tasks. I have not authorized anyone to make a change to any item in the report; therefore, if an unauthorized change is made to the appraisal report, I will take
    no responsibility for it.




    SUPERVISORY APPRAISER'S CERTIFICATION: If a supervisory appraiser signed the appraisal report, he or she certifies and agrees that:
    I directly supervise the appraiser who prepared the appraisal report, have reviewed the appraisal report, agree with the statements and conclusions of the appraiser,
    agree to be bound by the appraiser's certifications numbered 4 through 7 above, and am taking full responsibility for the appraisal and the appraisal report.

    ADDRESS OF PROPERTY APPRAISED:                               3701 Walnut Creek Dr, Columbus, OH 43224

    APPRAISER:                                                                                  SUPERVISORY APPRAISER (only if required):

    Signature:                                                                                  Signature:
    Name: JAMES SMOOT                                                                           Name:
    Date Signed: May 12, 2016                                                                   Date Signed:
    State Certification #:                                                                      State Certification #:
    or State License #: 2002018172                                                              or State License #:
    State: OHIO                                                                                 State:
    Expiration Date of Certification or License: 10/16/2016                                     Expiration Date of Certification or License:

                                                                                                      Did              Did Not Inspect Property




    Freddie Mac Form 439 6-93                                                     Page 2 of 2                                                     Fannie Mae Form 1004B 6-93

                                                Form ACR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
                                                                                           Main File No. PB1152 Page #7
Case 2:16-bk-54055                           Doc 1     Filed 06/21/16 Entered 06/21/16 12:31:22            Desc Main
                                                      Document
                                                LIMITED             Page 30 of
                                                        APPRAISAL DEPARTURE    83
                                                                            DISCLOSURE
         This report is a Limited Appraisal made according to the binding and specific requirements of the Uniform Standards of Professional Appraisal Practice (USPAP) as
     promulgated by the Appraisal Standards Board of the Appraisal Foundation. The Departure Rule permits departures from some sections of the USPAP that are classified
     as guidelines. USPAP places the burden of proof on the appraiser to decide before accepting an assignment which calls for something less than, or different from, the
     work that would otherwise be required by USPAP guidelines, and to determine that the appraisal process is not so limited that the results of the assignment are no
     longer credible. The appraiser must advise the client that a limited appraisal assignment may not be as reliable as a complete appraisal, and that the report must
     clearly identify and explain the departures. The client must agree that the performance of a limited appraisal service would be appropriate, given the intended use.
        I am satisfied that the appraisal I performed is not so limited that the results of the assignment will tend to mislead or confuse the client or any other disclosed intended
        users of the report. I have indicated below those specific sections of the USPAP from which I have departed. I have prominently disclosed in the appraisal report that this
        is a limited appraisal and that I have not performed all of the items of the appraisal process for a complete appraisal, and that a limited appraisal may be less reliable
        than a complete appraisal.
        Standards Rule 1-3 (a) "identify and analyze the effect on use and value of existing land use regulations, reasonably probable modifications of such land use regulations,
                                economic supply and demand, the physical adaptability of the real estate, and market area trends;"
     Departure:
    Explanation:

        Standards Rule 1-3 (b) "develop an opinion of the highest and best use of the real estate."
     Departure:
    Explanation:

        Standards Rule 1-4 (a) "When a sales comparison approach is applicable, an appraiser must analyze such comparable sales data as are available to indicate a value
                                conclusion."
     Departure:
    Explanation:

        Standards Rule 1-4 (b) "When a cost approach is applicable, an appraiser must: (i) develop an opinion of site value by an appropriate appraisal method or technique;
                                (ii) analyze such comparable cost data as are available to estimate the cost new of the improvements (if any); and (iii) analyze such comparable
                                data as are available to estimate the difference between the cost new and the present worth of the improvements (accrued depreciation)."
     Departure:    COST APPROACH NOT USED OR CONSIDERED
    Explanation:   CHAPTER 13 BANKRUPTCY

        Standards Rule 1-4 (c) "When an income approach is applicable, an appraiser must: (i) analyze such comparable rental data as are available and/or the potential earnings
                                capacity of the property to estimate the gross income potential of the property; (ii) analyze such comparable operating expense data as are available
                                to estimate the operating expenses of the property; (iii) analyze such comparable data as are available to estimate rates of capitalization and/or
                                rates of discount; and (iv) base projections of future rent and/or income potential and expenses on reasonably clear and appropriate evidence."
     Departure:    INCOME APPROACH NOT USED OR CONSIDERED
    Explanation:   CHAPTER 13 BANKRUPTCY

        Standards Rule 1-4 (d) "When developing an opinion of the value of a leased fee estate or a leasehold estate, an appraiser must analyze the effect on value, if any, of the
                                terms and conditions of the lease(s)."
     Departure:
    Explanation:

        Standards Rule 1-4 (e) "An appraiser must analyze the effect on value, if any, of the assemblage of the various estates or component parts of a property and refrain from
                                valuing the whole solely by adding together the individual values of the various estates or component parts."
     Departure:
    Explanation:

        Standards Rule 1-4 (f) "An appraiser must analyze the effect on value, if any, of anticipated public or private improvements, located on or off the site, to the extent that market
                                actions reflect such anticipated improvements as of the effective appraisal date."
     Departure:
    Explanation:

        Standards Rule 1-4 (g) "An appraiser must analyze the effect on value of any personal property, trade fixtures, or intangible items that are not real property but are included
                                in the appraisal."
     Departure:
    Explanation:

        Standards Rule 1-4 (h) "When appraising proposed improvements, an appraiser must examine and have available for future examination: (i) plans, specifications, or other
                                documentation sufficient to identify the scope and character of the proposed improvements; (ii) evidence indicating the probable time of completion
                                of the proposed improvements; and (iii) reasonably clear and appropriate evidence supporting development costs, anticipated earnings, occupancy
                                projections, and the anticipated competition at the time of completion."
     Departure:
    Explanation:

      Additional Explanations:




                                                                       www.jsandassociatesappraisal.com
                                                  Form 79L2 — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
               Case 2:16-bk-54055                     Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                            Desc Main
                                                                     Document      Page 31 of 83
 Fill in this information to identify your case:

 Debtor 1                 Cherie R. Joiner
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      3183 Genevieve Drive Columbus, OH                              $263,100.00                              $132,900.00      Ohio Rev. Code Ann. §
      43219 Franklin County                                                                                                    2329.66(A)(1)
      Residence                                                                            100% of fair market value, up to
      Insurance: Liberty Mutual                                                            any applicable statutory limit
      Line from Schedule A/B: 1.1

      2002 Toyota Sequoia 107K miles                                   $5,600.00                                 $3,775.00     Ohio Rev. Code Ann. §
      Insurance: USAA (F&C)                                                                                                    2329.66(A)(2)
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2002 Toyota Sequoia 107K miles                                   $5,600.00                                 $1,250.00     Ohio Rev. Code Ann. §
      Insurance: USAA (F&C)                                                                                                    2329.66(A)(18)
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc. HHG & Furnishings                                          $7,500.00                                 $7,500.00     Ohio Rev. Code Ann. §
      Line from Schedule A/B: 6.1                                                                                              2329.66(A)(4)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc. Wearing Apparel                                            $1,000.00                                 $1,000.00     Ohio Rev. Code Ann. §
      Line from Schedule A/B: 11.1                                                                                             2329.66(A)(4)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                               Desc Main
                                                                     Document      Page 32 of 83
 Debtor 1    Cherie R. Joiner                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Misc. Costume                                                       $200.00                                   $200.00        Ohio Rev. Code Ann. §
     Jewelry/Watch/Necklace                                                                                                       2329.66(A)(4)(b)
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase X4596                                               $115.00                                   $115.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.1                                                                                                 2329.66(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     AEP Utility Deposit                                                 $300.00                                   $300.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.2                                                                                                 2329.66(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pension: USPS Retirement Unvested)                                     $1.00                                     $1.00       5 U.S.C. § 8346(a)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Thrift Saving: USPS TSP Savings                                  $68,286.00                               $68,286.00         5 U.S.C. § 8346(a)
     Plan
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Child Support: Child Support Arrears                              $7,279.00                                 $7,279.00        Ohio Rev. Code Ann. §
     (Being liquidated thru court order)                                                                                          2329.66(A)(11)
     Line from Schedule A/B: 29.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Life Insurance Policy (Term through                                    $0.00                                     $0.00       Ohio Rev. Code Ann. §§
     Employer)                                                                                                                    2329.66(A)(6)(c), 3917.05
     Beneficiary: Minor Children                                                           100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit

     Universal Life (Whole Life)                                         $682.00                                   $682.00        Ohio Rev. Code Ann. §§
     Beneficiary: Minor Children                                                                                                  2329.66(A)(6)(e), 3923.19
     Line from Schedule A/B: 31.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 2:16-bk-54055                     Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                    Desc Main
                                                                     Document      Page 33 of 83
 Fill in this information to identify your case:

 Debtor 1                   Cherie R. Joiner
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Citi Bank, N.A.                          Describe the property that secures the claim:               $274,008.00               $263,100.00           $10,908.00
         Creditor's Name                          3183 Genevieve Drive Columbus,
                                                  OH 43219
                                                  Pmt: $ 1,900./4.625%
                                                  Arrearage: $18,000.(Debtor reserves
                                                  right to dispute validity of
                                                  note/mortgage)
                                                  As of the date you file, the claim is: Check all that
         6900 Beatrice Drive                      apply.
         Kalamazoo, MI 49009                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          10/20/06                  Last 4 digits of account number        8633

 2.2     Fifth Third Bank                         Describe the property that secures the claim:                 $30,684.00               $88,100.00                     $0.00
         Creditor's Name                          3701 Walnut Creek Drive

                                                  As of the date you file, the claim is: Check all that
         5050 Kingsley Drive                      apply.
         Cincinnati, OH 45227                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
             Case 2:16-bk-54055                          Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                           Desc Main
                                                                        Document      Page 34 of 83
 Debtor 1 Cherie R. Joiner                                                                                    Case number (if know)
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   HELOC
       community debt

 Date debt was incurred          7/08/05                     Last 4 digits of account number         4446

 2.3     Ocwen Loan Servicing                       Describe the property that secures the claim:                    $77,148.00                $263,100.00          $77,148.00
         Creditor's Name                            3183 Genevieve Drive Columbus

                                                    As of the date you file, the claim is: Check all that
         3451 Hammond Avenue                        apply.
         Waterloo, IA 50702                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Second Mortgage
       community debt

 Date debt was incurred          10/20/06                    Last 4 digits of account number         9039

 2.4     US Bank Home Mortgage                      Describe the property that secures the claim:                    $94,426.00                 $88,100.00          $37,010.00
         Creditor's Name                            3701 Walnut Creek Drive
                                                    Pmt: $803./4.625%
                                                    Arrears: $2,100.(Debtor reserves
                                                    right to dispute validity of
                                                    note/mortgage)
                                                    As of the date you file, the claim is: Check all that
         4801 Frederica Street                      apply.
         Owensboro, KY 42301                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          3/05/99                     Last 4 digits of account number         0268


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $476,266.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $476,266.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Nationwide Credit, Inc.
          P.O. Box 26314                                                                              Last 4 digits of account number
          Lehigh Valley, PA 18002-6314



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                             Desc Main
                                                                     Document      Page 35 of 83
 Debtor 1 Cherie R. Joiner                                                                  Case number (if know)
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.3
        Ocwen Loan Servicing, LLC
        Attn: Bankruptcy                                                             Last 4 digits of account number
        P.O. Box 24781
        West Palm Beach, FL 33416-4781

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.1
        OneWest Bank Mortgage Servicing
        P.O. Box 4045                                                                Last 4 digits of account number
        Kalamazoo, MI 49003-4045

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.2
        Regional Adjustment Bureau, Inc.
        1900 Charles Bryan Rd., Suite 110                                            Last 4 digits of account number
        P.O. Box 34111
        Cordova, TN 38016




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
               Case 2:16-bk-54055                      Doc 1          Filed 06/21/16 Entered 06/21/16 12:31:22                                            Desc Main
                                                                     Document      Page 36 of 83
 Fill in this information to identify your case:

 Debtor 1                   Cherie R. Joiner
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Amcol Systems Inc                                       Last 4 digits of account number         7771                                                           $200.00
              Nonpriority Creditor's Name
              111 Lancewood Rd                                        When was the debt incurred?             Opened 2/02/16
              Columbia, SC 29210
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Collection Osu Physicians Inc




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                              30332                                                Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 37 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.2      Amcol Systems Inc                                          Last 4 digits of account number       8388                                                  $25.00
          Nonpriority Creditor's Name
          111 Lancewood Rd                                           When was the debt incurred?           Opened 2/02/16
          Columbia, SC 29210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Osu Physicians Inc


 4.3      Capital One Bank Usa N                                     Last 4 digits of account number       6361                                                $254.00
          Nonpriority Creditor's Name
          15000 Capital One Dr                                       When was the debt incurred?           Opened 12/09/06
          Richmond, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.4      CashNet USA                                                Last 4 digits of account number       1197                                              $3,591.00
          Nonpriority Creditor's Name
          200 W. Jackson Blvd.                                       When was the debt incurred?           2016
          Suite 2400
          Chicago, IL 60606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Pay Advance Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 38 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.5      Cavalry Portfolio Serv                                     Last 4 digits of account number       1521                                              $1,894.00
          Nonpriority Creditor's Name
          Po Box 27288                                               When was the debt incurred?           Opened 3/18/15
          Tempe, AZ 85285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Citibank


 4.6      Cb/Vicscrt                                                 Last 4 digits of account number       7249                                                $696.00
          Nonpriority Creditor's Name
          Po Box 182128                                              When was the debt incurred?           Opened 7/01/14
          Columbus, OH 43218-2128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.7      Chase Card                                                 Last 4 digits of account number       7379                                              $2,133.00
          Nonpriority Creditor's Name
          Po Box 15298                                               When was the debt incurred?           Opened 1/03/06
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 39 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.8      Chase Card                                                 Last 4 digits of account number       4959                                                $490.00
          Nonpriority Creditor's Name
          201 N Walnut Street Mailstop                               When was the debt incurred?           Opened 11/01/15
          De1-1027
          Wilmington, DE 19801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.9      Eric Jones Law Firm                                        Last 4 digits of account number       7555                                              $5,228.00
          Nonpriority Creditor's Name
          513 E. Rich Street                                         When was the debt incurred?           2015
          Columbus, OH 43215
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection for OSU medical


 4.1
 0        Glhegc                                                     Last 4 digits of account number       7777                                              $9,575.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 9/23/13
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 40 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.1
 1        Glhegc                                                     Last 4 digits of account number       7777                                              $7,790.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 9/23/13
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 2        Glhegc                                                     Last 4 digits of account number       7777                                              $5,731.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 3        Glhegc                                                     Last 4 digits of account number       7777                                              $5,476.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 41 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.1
 4        Glhegc                                                     Last 4 digits of account number       7777                                              $4,595.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 5        Glhegc                                                     Last 4 digits of account number       7777                                              $4,059.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 6        Glhegc                                                     Last 4 digits of account number       7777                                              $3,995.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 42 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.1
 7        Glhegc                                                     Last 4 digits of account number       7777                                              $3,128.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 8        Glhegc                                                     Last 4 digits of account number       7777                                              $2,996.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 9        Glhegc                                                     Last 4 digits of account number       7777                                              $1,834.00
          Nonpriority Creditor's Name
          Po Box 7860                                                When was the debt incurred?           Opened 8/24/15
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 43 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.2
 0        ImmediaDent                                                Last 4 digits of account number       0175                                                $426.00
          Nonpriority Creditor's Name
          P.O. Box 11163                                             When was the debt incurred?           2016
          Overland Park, KS 66207
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.2
 1        Keith Schneider                                            Last 4 digits of account number       7555                                              $5,303.00
          Nonpriority Creditor's Name
          1650 Lake Shore Drive, Suite 150                           When was the debt incurred?           2015
          Columbus, OH 43204
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection for OSU Physicians


 4.2
 2        Kemba                                                      Last 4 digits of account number       0005                                              $2,918.00
          Nonpriority Creditor's Name
          Po Box 13145                                               When was the debt incurred?           Opened 1/01/16
          Columbus, OH 43213
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 44 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.2
 3        Kemba                                                      Last 4 digits of account number       0002                                                $457.00
          Nonpriority Creditor's Name
          Po Box 13145                                               When was the debt incurred?           Opened 12/01/13
          Columbus, OH 43213
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 4        Mcydsnb                                                    Last 4 digits of account number       9220                                                $881.00
          Nonpriority Creditor's Name
          9111 Duke Blvd                                             When was the debt incurred?           Opened 7/26/99
          Mason, OH 45040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 5        OSU Medical Center                                         Last 4 digits of account number       8282                                                $501.00
          Nonpriority Creditor's Name
          Attn: Patient Financial Svcs.                              When was the debt incurred?           2015
          660 Ackerman Rd.
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 45 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.2
 6        Pcb                                                        Last 4 digits of account number       9072                                                $174.00
          Nonpriority Creditor's Name
          5500 New Albany Rd                                         When was the debt incurred?           Opened 6/17/10
          New Albany, OH 43054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Med1 Nationwide Chil


 4.2
 7        Rob Reg Yng                                                Last 4 digits of account number       0043                                                $676.00
          Nonpriority Creditor's Name
          446 James Robertso Suite 200                               When was the debt incurred?           Opened 6/28/13
          Nashville, TN 37219
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Med1 02 Nashville Fi


 4.2
 8        Syncb/Oldn                                                 Last 4 digits of account number       1936                                                  $98.00
          Nonpriority Creditor's Name
          P.O. Box 530942                                            When was the debt incurred?           Opened 3/01/14
          Atlanta, GA 30353-0942
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account/Not Debtors




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 10 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 46 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.2      Taylor, Pigue, Marchetti and Blair,
 9        PLLC                                                       Last 4 digits of account number       0404                                              $2,970.00
          Nonpriority Creditor's Name
          2908 Poston Avenue                                         When was the debt incurred?           2010
          Nashville, TN 37203
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection for Turner Law Offices


 4.3
 0        The Ohio State University                                  Last 4 digits of account number       8282                                                $999.00
          Nonpriority Creditor's Name
          Patient Financial Services                                 When was the debt incurred?           2015
          660 Ackerman Rd, POB 183102
          Columbus, OH 43218-3102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.3
 1        U S Dept Of Ed/Gsl/Atl                                     Last 4 digits of account number       5312                                              $6,655.00
          Nonpriority Creditor's Name
          Po Box 4222                                                When was the debt incurred?           Opened 10/15/08
          Iowa City, IA 52244
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                        Desc Main
                                                                     Document      Page 47 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 4.3
 2         U S Dept Of Ed/Gsl/Atl                                    Last 4 digits of account number       8831                                                     $3,460.00
           Nonpriority Creditor's Name
           Po Box 4222                                               When was the debt incurred?           Opened 10/15/08
           Iowa City, IA 52244
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.3
 3         Usaa Fsb                                                  Last 4 digits of account number       0822                                                     $1,439.00
           Nonpriority Creditor's Name
           10750 Interstate Hwy. 10 West                             When was the debt incurred?           Opened 5/01/14
           San Antonio, TX 78265
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Co-signed loan for daughter/paid in full

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GC Services                                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 27346                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37927
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GC Services Limited Partnership                               Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Collection Agency Division                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 6330 Gulfton
 Houston, TX 77081
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Great Lakes Higher Education                                  Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2401 International Lane                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Madison, WI 53704-3192
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Marc A. Melamed, Esq                                          Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Javitch, Block & Rathbone, LLC                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 12 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                        Desc Main
                                                                     Document      Page 48 of 83
 Debtor 1 Cherie R. Joiner                                                                                Case number (if know)

 1100 Superior Avenue, 19th Floor
 Cleveland, OH 44114
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PCB                                                           Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 29917                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43229-7517
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    59,294.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    31,353.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    90,647.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 13 of 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                Case 2:16-bk-54055                      Doc 1          Filed 06/21/16 Entered 06/21/16 12:31:22                         Desc Main
                                                                      Document      Page 49 of 83
 Fill in this information to identify your case:

 Debtor 1                  Cherie R. Joiner
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Crest Financial Services, LLC                                              Executory Contract (RTO) Bedroom Furniture
               61 West 16490 South
               Draper, UT 84020

     2.2       Faye McCarrell                                                             Residential Lease (Debtor is Landlord) Began: 10/2015,
               3701 Walnut Creek Drive                                                    Ends: 10/2016 (Renewed Annually) (Tenant has occupied
               Columbus, OH 43224                                                         property for over a decade)




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
               Case 2:16-bk-54055                         Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22              Desc Main
                                                                         Document      Page 50 of 83
 Fill in this information to identify your case:

 Debtor 1                   Cherie R. Joiner
                            First Name                            Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
              Case 2:16-bk-54055                  Doc 1    Filed 06/21/16 Entered 06/21/16 12:31:22                              Desc Main
                                                          Document      Page 51 of 83


Fill in this information to identify your case:

Debtor 1                      Cherie R. Joiner

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF OHIO

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Postmaster
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       USPS

       Occupation may include student        Employer's address
                                                                   2825 Lone Oak Pkwy
       or homemaker, if it applies.
                                                                   Saint Paul, MN 55121

                                             How long employed there?         16 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        6,626.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      6,626.00           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
            Case 2:16-bk-54055              Doc 1       Filed 06/21/16 Entered 06/21/16 12:31:22                                 Desc Main
                                                       Document      Page 52 of 83

Debtor 1    Cherie R. Joiner                                                                      Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      6,626.00       $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,339.00       $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $         53.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $        222.00       $               N/A
      5e.    Insurance                                                                     5e.        $        454.00       $               N/A
      5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
      5g.    Union dues                                                                    5g.        $         28.00       $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,096.00       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,530.00       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        850.00       $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00       $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $        270.00       $               N/A
      8d. Unemployment compensation                                                        8d.        $          0.00       $               N/A
      8e. Social Security                                                                  8e.        $          0.00       $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,120.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              5,650.00 + $           N/A = $          5,650.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         5,650.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: None Anticipated. Retirement Loan has balance of $3,920., and will be repaid after month 18 of Plan.
                             TSP contribution was terminated on 6/16/16. Debtor adjusted W-4 immediatley prior to filing. Thus,
                             difference in CMI & DI.




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
         Case 2:16-bk-54055                      Doc 1      Filed 06/21/16 Entered 06/21/16 12:31:22                                  Desc Main
                                                           Document      Page 53 of 83


Fill in this information to identify your case:

Debtor 1                 Cherie R. Joiner                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF OHIO                                                  MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             5                    Yes
                                                                                                                                             No
                                                                                   Cailyn Turner                        13                   Yes
                                                                                                                                             No
                                                                                   Son                                  17                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             80.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             50.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
        Case 2:16-bk-54055                     Doc 1        Filed 06/21/16 Entered 06/21/16 12:31:22                                       Desc Main
                                                           Document      Page 54 of 83

Debtor 1     Cherie R. Joiner                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               201.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               130.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                               140.00
      6d. Other. Specify: Cable/Internet                                                                     6d.   $                               180.00
             Alarm System                                                                                          $                                75.00
7.    Food and housekeeping supplies                                                           7.                  $                               800.00
8.    Childcare and children’s education costs                                                 8.                  $                                50.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               100.00
10.   Personal care products and services                                                    10.                   $                                75.00
11.   Medical and dental expenses                                                            11.                   $                               110.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 255.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   55.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   99.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     2,400.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     2,400.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,650.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,400.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              3,250.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: None Anticipated. Tenant in Rental Property has been there for 10 years, & pays all utilities
                          and maintenance.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
               Case 2:16-bk-54055                     Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                        Desc Main
                                                                     Document      Page 55 of 83




 Fill in this information to identify your case:

 Debtor 1                    Cherie R. Joiner
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Cherie R. Joiner                                                      X
              Cherie R. Joiner                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date       June 21, 2016                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 2:16-bk-54055                     Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                               Desc Main
                                                                     Document      Page 56 of 83


 Fill in this information to identify your case:

 Debtor 1                  Cherie R. Joiner
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $36,637.96           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                               Desc Main
                                                                     Document      Page 57 of 83
 Debtor 1      Cherie R. Joiner                                                                            Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                              Wages, commissions,                       $71,100.00           Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $66,905.00           Wages, commissions,
 (January 1 to December 31, 2014 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Child Support                                               $1,492.37
 the date you filed for bankruptcy:


                                                   Rental Income                                  $5,100.00

 For last calendar year:                           Child Support                                  $3,561.13
 (January 1 to December 31, 2015 )


                                                   Rental Income                                  $9,600.00

 For the calendar year before that:                Child Support                                  $2,020.93
 (January 1 to December 31, 2014 )


                                                   Rental Income                                  $5,100.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                              Desc Main
                                                                     Document      Page 58 of 83
 Debtor 1      Cherie R. Joiner                                                                            Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       US Bank Home Mortgage                                     04/2016, 05/2016               $1,893.38          $94,426.00         Mortgage
       4801 Frederica Street                                                                                                          Car
       Owensboro, KY 42301
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       McCutcheon Meadows                                        03/2016-06/2016                  $900.00                 $0.00       Mortgage
       Homeowners Assoc.                                                                                                              Car
       P.O. Box 360681                                                                                                                Credit Card
       Columbus, OH 43236-0681                                                                                                        Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Home Association
                                                                                                                                    Dues/Paid in full


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                               Desc Main
                                                                     Document      Page 59 of 83
 Debtor 1      Cherie R. Joiner                                                                            Case number (if known)



       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Cavalry SPV, I, LLC v. Cherie R.                          Civil (Currently           Franklin County Municipal                   Pending
       Joiner                                                    Stayed)                    Court                                       On appeal
       2016 CVF 2514                                                                        375 S. High Street
                                                                                                                                        Concluded
                                                                                            Columbus, OH 43215


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Volunteers of America                                          Clothes Donated to VOA                                                               $2,043.00
       Columbus, OH 43219


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                              Desc Main
                                                                     Document      Page 60 of 83
 Debtor 1      Cherie R. Joiner                                                                            Case number (if known)



 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Spiroff Law Office                                             $1,900.00                                               6/2016                    $1,900.00
       1180 S. High Street
       Columbus, OH 43206


       DECAF                                                          $40.                                                    05/2016                       $40.00
       112 Goliad Street, Suite D
       Fort Worth, TX 76126


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                  Desc Main
                                                                     Document      Page 61 of 83
 Debtor 1      Cherie R. Joiner                                                                                  Case number (if known)



21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                        have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case 2:16-bk-54055                       Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                            Desc Main
                                                                     Document      Page 62 of 83
 Debtor 1      Cherie R. Joiner                                                                            Case number (if known)



26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                    Court or agency                      Nature of the case                    Status of the
        Case Number                                                   Name                                                                       case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Cherie R. Joiner
 Cherie R. Joiner                                                         Signature of Debtor 2
 Signature of Debtor 1

 Date      June 21, 2016                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22        Desc Main
                                                                     Document      Page 63 of 83
LBR Form 2016-1(b)

                                                     UNITED STATES BANKRUPTCY COURT
                                                        SOUTHERN DISTRICT OF OHIO
 In re:                                                                                 Case No.
 Cherie R. Joiner
                                                                                        Chapter 13

                                                                     Debtor(s)          Judge


                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                       AND APPLICATION FOR ALLOWANCE OF FEES IN CHAPTER 13 CASE
I.     Disclosure

1.     Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
       that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
       services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
       follows:
             For legal services, I have agreed to accept                                             $                3,500.00
             Prior to the filing of this statement I have received                                   $                1,900.00
             Balance Due                                                                             $                1,600.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other persons unless they are members and/or
            associates of my law firm.

            I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
            of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.

II.    Application

5.     I hereby apply for an allowance of fees in the amount set forth above. I understand and agree that the Court may approve,
       without itemization, an allowance of fees not to exceed $3,500, for rendering the legal services set forth below. If I seek payment
       of fees in excess of $3,500, I will file a separate application that sets forth the total amount of the fee requested, and that includes
       an itemization of all legal services performed, the hourly rate at which the services were performed, and the actual time spent by
       the case attorney, any other attorney, paralegal or professional person for whom fees are sought. Any request for reimbursement
       of expenses shall include an itemization of the expenses.

       a.        Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether, and under what
                 chapter, to file a petition in bankruptcy;
       b.        Preparation and filing of any petition, schedules, statement of affairs and amendments thereto that may be required;
       c.        Preparation and filing of chapter 13 plan, and any pre-confirmation amendments thereto that may be required;
       d.        Preparation and filing of payroll orders and amended payroll orders;
       e.        Representation of the debtor at the meeting of creditors and confirmation hearing; and any continued hearings thereof;
       f.        Filing of address changes;
       g.        Routine phone calls and questions;
       h.        Review of claims;
       i.        Review of notice of intention to pay claims;
       j.        Preparation and filing of objections to non-real estate and non-tax claims;

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
             Case 2:16-bk-54055                       Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22   Desc Main
                                                                     Document      Page 64 of 83
        k.       Preparation and filing of first motion to suspend or reduce payments;
        l.       Preparation and filing of debtor’s certification regarding issuance of discharge order; and
        m.       Any other duty as required by local decision or policy.
                 All tasks and services included in LBR 2016-1(c).

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                 All tasks and services not included in LBR 2016-1(c).




 June 21, 2016                                                                  /s/ Christopher J. Spiroff
 Date                                                                           Christopher J. Spiroff
                                                                                Signature of Attorney
                                                                                0042247
                                                                                Spiroff Law Office
                                                                                1180 South High Street
                                                                                Columbus, OH 43206
                                                                                614.224.2104
                                                                                Fax: 614.224.2066




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy
               Case 2:16-bk-54055                     Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                               Desc Main
                                                                     Document      Page 65 of 83

 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Cherie R. Joiner                                                                        According to the calculations required by this
                                                                                                               Statement:
 Debtor 2                                                                                                            1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            Southern District of Ohio                                        2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            6,586.04       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                          246.81       $
  5. Net income from operating a business,
     profession, or farm                                                  Debtor 1
        Gross receipts (before all deductions)                              $        0.00
        Ordinary and necessary operating expenses                           -$       0.00
        Net monthly income from a business, profession, or farm $                    0.00 Copy here -> $              0.00      $
  6. Net income from rental and other real property                       Debtor 1
        Gross receipts (before all deductions)                        $                850.00
        Ordinary and necessary operating expenses                    -$                315.50
        Net monthly income from rental or other real                                            Copy
        property                                                      $                534.50 here -> $            534.50       $




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case 2:16-bk-54055                       Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                      Desc Main
                                                                     Document      Page 66 of 83
 Debtor 1     Cherie R. Joiner                                                                                  Case number (if known)



                                                                                                            Column A                      Column B
                                                                                                            Debtor 1                      Debtor 2 or
                                                                                                                                          non-filing spouse
                                                                                                            $                  0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                              $                  0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                 $                  0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                                                                                                            $                  0.00       $
                                                                                                            $                  0.00       $
                  Total amounts from separate pages, if any.                                           +    $                  0.00       $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $        7,367.35           +   $                  =    $      7,367.35

                                                                                                                                                              Total average
                                                                                                                                                              monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                            $          7,367.35
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                   $
                                                                                                   $
                                                                                                 +$

                     Total                                                                        $                    0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                     $          7,367.35

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                      $          7,367.35

                Multiply line 15a by 12 (the number of months in a year).                                                                                     x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................            $         88,408.20




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                 page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                    Desc Main
                                                                     Document      Page 67 of 83
 Debtor 1     Cherie R. Joiner                                                                   Case number (if known)




  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                             OH

       16b. Fill in the number of people in your household.                   4
       16c. Fill in the median family income for your state and size of household.                                                       $     78,983.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                  7,367.35
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $          7,367.35


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      7,367.35

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     88,408.20




       20c. Copy the median family income for your state and size of household from line 16c                                             $     78,983.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Cherie R. Joiner
        Cherie R. Joiner
        Signature of Debtor 1
       Date June 21, 2016
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                     Desc Main
                                                                     Document      Page 68 of 83

 Fill in this information to identify your case:

 Debtor 1            Cherie R. Joiner

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Southern District of Ohio

 Case number
 (if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                         04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    4
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $             1,509.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                        page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
              Case 2:16-bk-54055                      Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                 Desc Main
                                                                     Document      Page 69 of 83
 Debtor 1         Cherie R. Joiner                                                                   Case number (if known)



    People who are under 65 years of age
            7a. Out-of-pocket health care allowance per person              $             54
            7b. Number of people who are under 65                           X         4
            7c. Subtotal. Multiply line 7a by line 7b.                      $       216.00            Copy here=>        $           216.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person              $          130
            7e. Number of people who are 65 or older                        X         0
            7f.     Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $              0.00

            7g. Total. Add line 7c and line 7f                                                 $     216.00                   Copy total here=> $         216.00


    Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
        in the dollar amount listed for your county for insurance and operating expenses.                               $               611.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                    $        1,303.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                    To calculate the total average monthly payment, add all amounts that are
                    contractually due to each secured creditor in the 60 months after you file
                    for bankruptcy. Next divide by 60.

                    Name of the creditor                                        Average monthly
                                                                                payment

                    Citi Bank, N.A.                                             $         1,900.00
                    US Bank Home Mortgage                                       $          803.00

                                                                                                      Copy                                       Repeat this amount
                                     9b. Total average monthly payment          $         2,703.00    here=>        -$               2,703.00 on line 33a.

            9c. Net mortgage or rent expense.

                    Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                    or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $              0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $               0.00

             Explain why:




Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                                 page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 2:16-bk-54055                       Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                          Desc Main
                                                                     Document      Page 70 of 83
 Debtor 1     Cherie R. Joiner                                                                                   Case number (if known)


    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $             191.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1:

    13a. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment
                 -NONE-                                                            $

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                         Total Average Monthly Payment             $                 0.00         here =>       -$           0.00     line 33b.


    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $              0.00       =>              $             0.00

     Vehicle 2         Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                                                                                   $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                         Total average monthly payment             $                              =>                      0.00    33c.
                                                                                                                           -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                       $              0.00       =>              $             0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                 0.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
             Case 2:16-bk-54055                       Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                        Desc Main
                                                                     Document      Page 71 of 83
 Debtor 1     Cherie R. Joiner                                                                        Case number (if known)


    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                $       1,339.00
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $           53.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                              $             0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $             0.00
    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.     $             0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                       $             0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                      $             0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                     +$         140.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                              $     4,059.00
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                              $        454.00
            Disability insurance                                          $           0.00
            Health savings account                                       +$           0.00

            Total                                                             $      454.00       Copy total here=>                    $          454.00


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                    Yes                                                       $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                            $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                      $             0.00



Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                       page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
             Case 2:16-bk-54055                       Doc 1            Filed 06/21/16 Entered 06/21/16 12:31:22                                    Desc Main
                                                                      Document      Page 72 of 83
 Debtor 1     Cherie R. Joiner                                                                                 Case number (if known)

    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                $                 0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.                       $                 0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                              $                 0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                      $                 0.00

    32. Add all of the additional expense deductions.                                                                                                  $          454.00
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                   payment
    33a.      Copy line 9b here                                                                                                               =>   $           2,703.00
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>   $                0.00
    33c.      Copy line 13e here                                                                                                              =>   $                0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                                                                                        No
             -NONE-                                                                                                                     Yes        $

                                                                                                                                        No
                                                                                                                                        Yes        $

                                                                                                                                        No
                                                                                                                                        Yes   +    $


                                                                                                                                              Copy
                                                                                                                                              total
    33e      Total average monthly payment. Add lines 33a through 33d                                              $           2,703.00       here=>       $    2,703.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                          page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
              Case 2:16-bk-54055                               Doc 1            Filed 06/21/16 Entered 06/21/16 12:31:22                                         Desc Main
                                                                               Document      Page 73 of 83
 Debtor 1      Cherie R. Joiner                                                                                         Case number (if known)

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
               No.      Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.
     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                   Monthly cure
                                                                                                                                                                 amount
                                                                  3183 Genevieve Drive Columbus, OH
                                                                  43219
                                                                  Pmt: $ 1,900./4.625%
                                                                  Arrearage: $18,000.(Debtor reserves
                                                                  right to dispute validity of
     Citi Bank, N.A.                                              note/mortgage)                                         $              18,000.00 ÷ 60 = $                         300.00
                                                                  3701 Walnut Creek Drive
                                                                  Pmt: $803./4.625%
                                                                  Arrears: $2,100.(Debtor reserves right
     US Bank Home Mortgage                                        to dispute validity of note/mortgage)                  $               2,100.00 ÷ 60 = $                          35.00
                                                                                                                         $                               ÷ 60 = +$
                                                                                                                                                            Copy
                                                                                                                                                            total
                                                                                                                 Total $                     335.00         here=>           $         335.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

               No. Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                       $                    0.00       ÷ 60        $                 0.00
    36. Projected monthly Chapter 13 plan payment                                                                            $             3,250.00
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X             5.00
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                          Copy total
        Average monthly administrative expense                                                                                   $        162.50          here=> $                     162.50


    37. Add all of the deductions for debt payment.                                                                                                                      $        3,200.50
        Add lines 33e through 36.

    Total Deductions from Income
    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                      $        4,059.00
            Copy line 32, All of the additional expense deductions                                  $           454.00
            Copy line 37, All of the deductions for debt payment                                   +$        3,200.50


            Total deductions....................................................................    $        7,713.50                Copy total here=>               $               7,713.50




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                  page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                               Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                                Desc Main
                                                                     Document      Page 74 of 83
 Debtor 1    Cherie R. Joiner                                                                          Case number (if known)



 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                                $                   7,367.35
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                               $                 246.81
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                   $                 222.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                =>    $            7,713.50
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

                                                                                      $

                                                                                      $

                                                                                      $

                                                                                                              Copy
                                                                            Total $               0.00        here=> $                    0.00


                                                                                                                                     Copy
    44. Total adjustments. Add lines 40 through 43.                                               =>      $          8,182.31        here=> -$            8,182.31


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                       $              -814.96


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
        time your case will be open, fill in the information below. For example, if the wages reported increased after
        you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
        wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change          Increase or        Amount of change
                                                                                                                   decrease?
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease        $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease        $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease        $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease        $




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 2:16-bk-54055                       Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                     Desc Main
                                                                     Document      Page 75 of 83
 Debtor 1     Cherie R. Joiner                                                                     Case number (if known)




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Cherie R. Joiner
             Cherie R. Joiner
             Signature of Debtor 1
    Date June 21, 2016
         MM / DD / YYYY




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                Desc Main
                                                                     Document      Page 76 of 83
 Debtor 1    Cherie R. Joiner                                                                      Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2015 to 05/31/2016.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: USPS
Income by Month:
 6 Months Ago:                                    12/2015                  $8,994.60
 5 Months Ago:                                    01/2016                  $6,056.36
 4 Months Ago:                                    02/2016                  $6,116.32
 3 Months Ago:                                    03/2016                  $6,116.32
 2 Months Ago:                                    04/2016                  $6,116.32
 Last Month:                                      05/2016                  $6,116.32
                                 Average per month:                        $6,586.04




Line 4 & 40 - Child support income (including foster care and disability)
Source of Income: Child Support
Income by Month:
 6 Months Ago:                                    12/2015                    $271.34
 5 Months Ago:                                    01/2016                    $265.58
 4 Months Ago:                                    02/2016                    $129.91
 3 Months Ago:                                    03/2016                    $271.34
 2 Months Ago:                                    04/2016                    $271.34
 Last Month:                                      05/2016                    $271.34
                                 Average per month:                          $246.81




Line 6 - Rent and other real property income
Source of Income: Rental Income
Income/Expense/Net by Month:
                         Date                                             Income                         Expense                   Net
 6 Months Ago:                  12/2015                                            $850.00                            $0.00                $850.00
 5 Months Ago:                  01/2016                                            $850.00                            $0.00                $850.00
 4 Months Ago:                  02/2016                                            $850.00                            $0.00                $850.00
 3 Months Ago:                  03/2016                                            $850.00                            $0.00                $850.00
 2 Months Ago:                  04/2016                                            $850.00                          $946.00                $-96.00
 Last Month:                    05/2016                                            $850.00                          $947.00                $-97.00
                     Average per month:                                            $850.00                          $315.50
                                                                                             Average Monthly NET Income:                   $534.50




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                              page 9
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22              Desc Main
                                                                     Document      Page 77 of 83
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                 Desc Main
                                                                     Document      Page 78 of 83


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                Desc Main
                                                                     Document      Page 79 of 83
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 2:16-bk-54055                        Doc 1           Filed 06/21/16 Entered 06/21/16 12:31:22                Desc Main
                                                                     Document      Page 80 of 83
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
    Case 2:16-bk-54055   Doc 1    Filed 06/21/16 Entered 06/21/16 12:31:22   Desc Main
                                 Document      Page 81 of 83

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         Amcol Systems Inc
                         111 Lancewood Rd
                         Columbia, SC 29210

                         Capital One Bank Usa N
                         15000 Capital One Dr
                         Richmond, VA 23238

                         CashNet USA
                         200 W. Jackson Blvd.
                         Suite 2400
                         Chicago, IL 60606

                         Cavalry Portfolio Serv
                         Po Box 27288
                         Tempe, AZ 85285

                         Cb/Vicscrt
                         Po Box 182128
                         Columbus, OH 43218-2128

                         Chase Card
                         Po Box 15298
                         Wilmington, DE 19850

                         Chase Card
                         201 N Walnut Street Mailstop De1-1027
                         Wilmington, DE 19801

                         Citi Bank, N.A.
                         6900 Beatrice Drive
                         Kalamazoo, MI 49009

                         Crest Financial Services, LLC
                         61 West 16490 South
                         Draper, UT 84020

                         Eric Jones Law Firm
                         513 E. Rich Street
                         Columbus, OH 43215

                         Fifth Third Bank
                         5050 Kingsley Drive
                         Cincinnati, OH 45227

                         GC Services
                         P.O. Box 27346
                         Knoxville, TN 37927

                         GC Services Limited Partnership
                         Collection Agency Division
                         6330 Gulfton
                         Houston, TX 77081
Case 2:16-bk-54055   Doc 1    Filed 06/21/16 Entered 06/21/16 12:31:22   Desc Main
                             Document      Page 82 of 83


                     Glhegc
                     Po Box 7860
                     Madison, WI 53707

                     Great Lakes Higher Education
                     2401 International Lane
                     Madison, WI 53704-3192

                     ImmediaDent
                     P.O. Box 11163
                     Overland Park, KS 66207

                     Keith Schneider
                     1650 Lake Shore Drive, Suite 150
                     Columbus, OH 43204

                     Kemba
                     Po Box 13145
                     Columbus, OH 43213

                     Marc A. Melamed, Esq
                     Javitch, Block & Rathbone, LLC
                     1100 Superior Avenue, 19th Floor
                     Cleveland, OH 44114

                     Mcydsnb
                     9111 Duke Blvd
                     Mason, OH 45040

                     Nationwide Credit, Inc.
                     P.O. Box 26314
                     Lehigh Valley, PA 18002-6314

                     Ocwen Loan Servicing
                     3451 Hammond Avenue
                     Waterloo, IA 50702

                     Ocwen Loan Servicing, LLC
                     Attn: Bankruptcy
                     P.O. Box 24781
                     West Palm Beach, FL 33416-4781

                     OneWest Bank Mortgage Servicing
                     P.O. Box 4045
                     Kalamazoo, MI 49003-4045

                     OSU Medical Center
                     Attn: Patient Financial Svcs.
                     660 Ackerman Rd.
                     Columbus, OH 43218

                     Pcb
                     5500 New Albany Rd
                     New Albany, OH 43054
Case 2:16-bk-54055   Doc 1    Filed 06/21/16 Entered 06/21/16 12:31:22   Desc Main
                             Document      Page 83 of 83


                     PCB
                     P.O. Box 29917
                     Columbus, OH 43229-7517

                     Regional Adjustment Bureau, Inc.
                     1900 Charles Bryan Rd., Suite 110
                     P.O. Box 34111
                     Cordova, TN 38016

                     Rob Reg Yng
                     446 James Robertso Suite 200
                     Nashville, TN 37219

                     Syncb/Oldn
                     P.O. Box 530942
                     Atlanta, GA 30353-0942

                     Taylor, Pigue, Marchetti and Blair, PLLC
                     2908 Poston Avenue
                     Nashville, TN 37203

                     The Ohio State University
                     Patient Financial Services
                     660 Ackerman Rd, POB 183102
                     Columbus, OH 43218-3102

                     U S Dept Of Ed/Gsl/Atl
                     Po Box 4222
                     Iowa City, IA 52244

                     US Bank Home Mortgage
                     4801 Frederica Street
                     Owensboro, KY 42301

                     Usaa Fsb
                     10750 Interstate Hwy. 10 West
                     San Antonio, TX 78265
